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                     EXHIBIT A
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                            AMENDMENT NO. 1
 TO SENIOR SECURED SUPER PRIORITY DEBTOR IN POSSESSION LOAN AGREEMENT

                  This Amendment No. 1 (this “Amendment”) to the Senior Secured Super Priority Debtor
in Possession Loan Agreement, dated as of August 9, 2023 (as amended, restated, supplemented or
otherwise modified from time to time, the “Loan Agreement”) is made as of September 13, 2023 and is
entered into by and among by and among AMYRIS, INC., a Delaware corporation (the “Parent”), each of
the Subsidiaries of the Parent set out in Part 1 of Schedule 1 to this Amendment (together with the Parent,
each, a “Borrower” and collectively, the “Borrowers”), the Subsidiaries of the Parent set out in Part 2 of
Schedule 1 to this Amendment (such other Subsidiaries of the Parent that are guarantors, each, a
“Guarantor” and collectively, the “Guarantors” and, together with the Borrowers, each an “Obligor” and
collectively, the “Obligors”), each lender from time to time party hereto (each, a “Lender” and collectively,
the “Lenders”) and Euagore, LLC, in its capacity as Administrative Agent (the “Administrative Agent”).

        WHEREAS, on August 9, 2023 the Parent and certain of its Subsidiaries filed voluntary petitions
with the Bankruptcy Court initiating their respective cases under chapter 11 of the Bankruptcy Code and
have continued in the possession of their assets and the management of their business pursuant to Section
1107 and 1108 of the Bankruptcy Code;

        WHEREAS, on August 9, 2023 the Obligors and the Lenders entered into the Loan Agreement to
provide a super priority multiple-draw senior secured debtor-in-possession term loan credit facility (the
“DIP Facility”), with all of the Borrowers’ obligations under the DIP Facility guaranteed by each Guarantor,
and the Lenders agreed to extend the DIP Facility to the Borrowers on the terms and subject to the
conditions set forth in the Loan Agreement; and

        WHEREAS, the Obligors have requested that the Administrative Agent and the Lenders amend the
Loan Agreement in certain respects, and the Administrative Agent and such Lenders are willing to do so, in
each case, subject to the terms and conditions set forth herein,

        NOW THEREFORE, in consideration of the premises and other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, the parties to this Amendment agree as
follows:

                1.       Definitions. All terms used herein that are defined in the Loan Agreement and not
otherwise defined herein shall have the meanings given to them in the Loan Agreement.

                2.       Amendments and Consents. With effect from the Effective Date:

                         (a)     Section 1 (Definitions and Rules of Construction) shall be amended by:

                               (i)    deleting the definitions of “All Assets Bidding Procedures”, “All
        Assets Bidding Procedures Motion” and “All Asset Sale Transaction”; and

                                 (ii)    adding the following definitions in alphabetical order:

                “Consumer Brands Bidding Procedures” has the meaning given to it in Section 7.25(d).
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                   “Consumer Brands Bidding Procedures Motion” has the meaning given to it in Section
7.25(d).

                   “Consumer Brands Bidding Procedures Order” has the meaning given to it in Section
7.25(d).

                   “Consumer Brands Sale Toggle Event” has the meaning given to it in Section 7.25(d).

                   “Consumer Brands Sale Toggle Event Notice” has the meaning given to it in Section
7.25(d).

                  “Consumer Brands Business Sale Transaction” means one or more transactions (or series
of related transactions) to sell all or substantially all of the Consumer Brands Business, free and clear of
liabilities (subject to customary exceptions) pursuant to the Cases which transactions shall be in form and
substance satisfactory to the Required Lenders and the Administrative Agent (solely with respect to its own
treatment) in their sole respective discretion.

                   “Other Amyris Assets Bidding Procedures” has the meaning given to it in Section 7.25(d).

                   “Other Amyris Assets Bidding Procedures Motion” has the meaning given to it in Section
7.25(d).

                   “Other Amyris Assets Bidding Procedures Order” has the meaning given to it in Section
7.25(d).

                   “Other Amyris Assets Sale Toggle Event” has the meaning given to it in Section 7.25(d).

                   “Other Amyris Assets Sale Toggle Event Notice” has the meaning given to it in Section
7.25(d).

                  “Other Amyris Assets Sale Transaction” means one or more transactions (or series of
related transactions) to sell all or substantially all of the Other Amyris Assets, free and clear of liabilities
(subject to customary exceptions) pursuant to the Cases which transactions shall be in form and substance
satisfactory to the Required Lenders and the Administrative Agent (solely with respect to its own treatment)
in their sole respective discretion.

                           (b)      Section 7.25(d) (Certain Case Milestones) is deleted and replaced with:

                    “(d)     no later than forty-nine (49) calendar days following the Petition Date (i.e.
           September 27, 2023) (the “Plan Support Deadline”), the Debtors shall have executed a plan support
           agreement (the “Plan Support Agreement”) by and among the Debtors, the Administrative Agent,
           the Lenders, the Foris Prepetition Secured Lenders, and such other party- or parties-in-interest
           determined by the Administrative Agent, the Required Lenders, and the Foris Prepetition Secured
           Lenders, in their sole and absolute discretion, to be necessary and sufficient for the Administrative
           Agent, the Lenders and the Foris Prepetition Secured Lenders to support a Chapter 11 Plan
           (collectively, the “Plan Support Persons”), with such Plan Support Agreement being acceptable to
           the Administrative Agent and the Foris Prepetition Secured Lenders in their sole discretion (the
           “Plan Support Agreement Milestone”); provided that (x) the Debtors shall not file a motion to sell
           any Other Amyris Assets on or prior to the Plan Support Deadline and (y) (A) if the Plan Support
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Agreement Milestone Date occurs on or prior to the Plan Support Deadline, the Plan Support
Agreement shall include, and the Obligors shall achieve, each of the following Milestones:

               (1)     on the Plan Support Agreement Milestone Date (i.e. September 27, 2023),
                       the Debtors shall file with the Bankruptcy Court a Chapter 11 Plan, a
                       Disclosure Statement (each consistent with the Plan Support Agreement
                       and in form and substance acceptable to the Administrative Agent), and a
                       motion to approve the Plan, the Disclosure Statement and the related
                       solicitation materials, dates and deadlines (the “Plan Filing Deadline”);

               (2)     no later than thirty-seven (37) calendar days following the Plan Filing
                       Deadline (i.e. November 3, 2023) (the “Disclosure Statement Hearing
                       Order Deadline”), the Bankruptcy Court shall enter an order approving the
                       Disclosure Statement, which order shall provide that the date upon which
                       votes to accept or reject the Chapter 11 Plan must be submitted shall be no
                       later than thirty-five (35) calendar days following the Disclosure
                       Statement Hearing Order Deadline (i.e. December 8, 2023);

               (3)     no later than eighty-two (82) calendar days following the Plan Filing
                       Deadline (i.e. December 18, 2023), the Bankruptcy Court shall enter the
                       Acceptable Confirmation Order provided that the Acceptable
                       Confirmation Order and Chapter 11 Plan shall be in form and substance
                       consistent in all respects with the Plan Support Agreement and in form and
                       substance acceptable to the Administrative Agent;

               (4)     no later than December 29, 2023, the Plan Effective Date shall occur; and

               (5)     if the Plan Support Agreement provides for the sale of the Other Amyris
                       Assets, the Plan Support Agreement shall include Milestones to
                       commence a sale of the Other Amyris consistent in form and substance
                       with the Milestones described in clause (C) below and otherwise in form
                       and substance acceptable to the Administrative Agent and, for the
                       avoidance of doubt, the distribution of Net Proceeds from such sale shall
                       be governed by the Plan Support Agreement and the Chapter 11 Plan;

       and (B) on September 13, 2023, the Administrative Agent, in its sole discretion, may elect
       to require the Debtors to initiate a process to market and sell the Consumer Brands Business
       (such election, the “Consumer Brands Sale Toggle Event”) by delivering written notice of
       the occurrence of the Consumer Brands Sale Toggle Event to the Parent (the “Consumer
       Brands Sale Toggle Event Notice”), which process shall include the following Milestones:

                 (i)   no later than five (5) calendar days following the Debtors’ receipt of the
                       Consumer Brands Sale Toggle Event Notice (i.e. September 18, 2023), the
                       Debtors shall file with the Bankruptcy Court a motion (the “Consumer
                       Brands Bidding Procedures Motion”) seeking approval of the bidding
                       procedures for the Consumer Brands Business Sale Transaction (the
                       “Consumer Brands Bidding Procedures”); provided that the Consumer
                       Brands Bidding Procedures Motion, the Consumer Brands Bidding
                       Procedures, and the order approving the Consumer Brands Bidding
                       Procedures (the “Consumer Brands Bidding Procedures Order”), shall be
                       in form and substance acceptable to the Administrative Agent, and shall
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                  include, without limitation, (x) the date upon which preliminary bids and
                  qualified bids for the Consumer Brands Business shall be submitted and
                  the date the sale hearing for the Consumer Brands Business shall occur,
                  (y) the terms and conditions of acceptance of a qualified bid, and (z) the
                  distribution of 100% of the Net Proceeds from the Consumer Brands
                  Business Sale Transaction, which shall, for the avoidance of doubt, be
                  subject in all respects to the Liens and claims of the Secured Parties and
                  the Foris Prepetition Secured Lenders and shall be paid (I) first to the
                  Secured Parties and/or the Foris Prepetition Secured Lenders in order of
                  priority and applied to the Loans and the Foris Prepetition Obligations as
                  determined by the Lenders and the Foris Prepetition Secured Lenders in
                  their sole discretion, and (II) second, any remaining balance, if any, shall
                  be retained by the Debtors; provided that, as set forth in the DIP Orders,
                  the Administrative Agent and the Foris Prepetition Secured Lenders shall
                  have the right to credit bid up to the full amount of the Secured Obligations
                  and Foris Prepetition Obligations, respectively, in connection with such
                  sale;

           (ii)   no later than thirty-five (35) calendar days following the Debtors’ receipt
                  of the Consumer Brands Sale Toggle Event Notice (i.e. October 18, 2023),
                  the Bankruptcy Court shall enter the Consumer Brands Bidding Procedure
                  Order;

          (iii)   no later than ninety (90) calendar days following the Debtors’ receipt of
                  the Consumer Brands Sale Toggle Event Notice (i.e. December 12, 2023),
                  the Bankruptcy Court shall enter an order approving the Consumer Brands
                  Business Sale Transaction;

          (iv)    no later than December 29, 2023, the Consumer Brands Business Sale
                  Transaction shall close and be effective;

  and (C) if the Plan Support Agreement Milestone is not satisfied on or prior to the Plan
  Support Deadline, the Administrative Agent, in its sole discretion, may elect to require the
  Debtors to initiate a process to market and sell the Other Amyris Assets (such election, the
  “Other Amyris Assets Sale Toggle Event”) by delivering written notice of the occurrence
  of the Other Amyris Assets Sale Toggle Event to the Parent (the “Other Amyris Assets
  Sale Toggle Event Notice”), which process shall include the following Milestones:

            (i)   no later than one (1) calendar day following the Debtors’ receipt of the
                  Other Amyris Assets Sale Toggle Event Notice, the Debtors shall (a) file
                  with the Bankruptcy Court a motion or (b) file a motion to amend the
                  Consumer Brands Bidding Procedures (in each case, the “Other Amyris
                  Assets Bidding Procedures Motion”) seeking approval of the bidding
                  procedures for the Other Amyris Assets Sale Transaction (the “Other
                  Amyris Assets Bidding Procedures”); provided that the Other Amyris
                  Assets Bidding Procedures Motion, the Other Amyris Assets Bidding
                  Procedures, and the order approving the Other Amyris Assets Bidding
                  Procedures (the “Other Amyris Assets Bidding Procedures Order”) and
                  together with the Consumer Brands Bidding Procedures Order, the “All
                  Assets Bidding Procedures Order”), shall be in form and substance

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                                   acceptable to the Administrative Agent, and shall include, without
                                   limitation, (x) the date upon which preliminary bids and qualified bids for
                                   the Other Amyris Assets shall be submitted and the date the sale hearing
                                   for the Other Amyris Assets shall occur, (y) the terms and conditions of
                                   acceptance of a qualified bid, and (z) the distribution of 100% of the Net
                                   Proceeds from the Other Amyris Asset Sale Transaction, which shall, for
                                   the avoidance of doubt, be subject in all respects to the Liens and claims
                                   of the Secured Parties and the Foris Prepetition Secured Lenders and shall
                                   be paid (I) first to the Secured Parties and/or the Foris Prepetition Secured
                                   Lenders in order of priority and applied to the Loans and the Foris
                                   Prepetition Obligations as determined by the Lenders and the Foris
                                   Prepetition Secured Lenders in their sole discretion, and (II) second, any
                                   remaining balance, if any, shall be retained by the Debtors; provided that,
                                   as set forth in the DIP Orders, the Administrative Agent and the Foris
                                   Prepetition Secured Lenders shall have the right to credit bid up to the full
                                   amount of the Secured Obligations and Foris Prepetition Obligations,
                                   respectively, in connection with such sale;

                           (ii)    no later than twenty-one (21) calendar days following the Debtors’ receipt
                                   of the Other Amyris Assets Sale Toggle Event Notice, the Bankruptcy
                                   Court shall enter the Other Amyris Assets Bidding Procedure Order;

                          (iii)    no later than seventy-six (76) calendar days following the Debtors’ receipt
                                   of the Other Amyris Assets Sale Toggle Event Notice, the Bankruptcy
                                   Court shall enter an order approving the Other Amyris Asset Sale
                                   Transaction; and

                           (iv)    no later than December 29, 2023, the Other Amyris Asset Sale Transaction
                                   shall close and be effective.”; and

                      (c)     the Lenders agree that this Amendment shall constitute a Consumer
Brands Sale Toggle Event Notice, effective as of the Effective Date.

                3.       Representations and Warranties; No Event of Default. Each Obligor hereby
represents and warrants to the Administrative Agent and the Lenders that:

                  (a)       the representations and warranties in Section 5 and in each other Loan Document,
certificate or other writing delivered by or on behalf of the Obligors to the Administrative Agent or any
Lender pursuant to any Loan Document on or before the Effective Date are true and correct in all material
respects (except that such materiality qualifier shall not be applicable to any representations or warranties that
already are qualified or modified as to “materiality” or “Material Adverse Effect” in the text thereof, which
representations and warranties shall be true and correct in all respects subject to such qualification) on and as
of the Effective Date as though made on and as of such date, except to the extent that any such representation
or warranty expressly relates solely to an earlier date (in which case such representation or warranty shall be
true and correct in all material respects (except that such materiality qualifier shall not be applicable to any
representations or warranties that already are qualified or modified as to “materiality” or “Material Adverse
Effect” in the text thereof, which representations and warranties shall be true and correct in all respects subject
to such qualification) on and as of such earlier date), and no Default or Event of Default has occurred and is


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continuing as of the Effective Date or would result from this Amendment becoming effective in accordance
with its terms;

                 (b)      the execution, delivery and performance of this Amendment (i) are within its
corporate, partnership, limited partnership or limited liability company power and do not contravene any
provision of its organizational documents; (ii) have been duly authorized by all necessary or proper action
of each Obligor; (iii) will not result in the creation or imposition of any Lien upon the Collateral, other than
Permitted Liens; (iv) do not violate (A) any Laws or regulations to which it or its Subsidiaries are subject,
the violation of which would be reasonably expected to have a Material Adverse Effect or (B) any order,
injunction, judgment, decree or writ of any Governmental Authority to which it or its Subsidiaries are
subject; (v) do not conflict with, or result in the breach or termination of, constitute a default under or
accelerate or permit the acceleration of any performance required by, any indenture mortgage, deed of trust,
lease or agreement or other instrument, in each case, in respect of material Indebtedness to which it or its
Subsidiaries is a party or by which it or its Subsidiaries or any of its property is bound; and (vi) do not
violate any contract or agreement or require the consent or approval of any other Person or Governmental
Authority which has not already been obtained. The individual or individuals executing this Amendment
are duly authorized to do so. This Amendment has been duly executed and delivered on behalf of each
Obligor party thereto; and
        (c)      this Amendment upon execution will constitute, a legal, valid and binding obligation of
each Obligor party thereto, enforceable against each such Obligor in accordance with its terms, except as
enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium or similar
laws affecting the enforcement of creditors’ rights generally and by general equitable principles (whether
enforcement is sought by proceedings in equity or at law).
                 4.      Conditions to Effectiveness. This Amendment shall become effective only upon
the date (the “Effective Date”) on which the Administrative Agent and Required Lenders have received (or
waived receipt of) the following documents and other evidence, each in form and substance satisfactory to
them:

                         (a)      this Amendment, signed by all Obligors party to it;

                           (b)     the representations and warranties contained in Section 5 and in this
Amendment shall be true and correct in all material respects (except that such materiality qualifier shall not
be applicable to any representations or warranties that already are qualified or modified as to “materiality”
or “Material Adverse Effect” in the text thereof, which representations and warranties shall be true and
correct in all respects subject to such qualification) on and as of the Effective Date as though made on and
as of such date, except to the extent that any such representation or warranty expressly relates solely to an
earlier date (in which case such representation or warranty shall be true and correct in all material respects
(except that such materiality qualifier shall not be applicable to any representations or warranties that
already are qualified or modified as to “materiality” or “Material Adverse Effect” in the text thereof, which
representations and warranties shall be true and correct in all respects subject to such qualification) on and
as of such earlier date); and

                         (c)   no Default or Event of Default shall have occurred and be continuing or
shall result from this Amendment becoming effective in accordance with its terms.

                 5.      Reaffirmation. Each Obligor, as debtor, grantor, pledgor, guarantor, assignor, or in
any other similar capacity in which such Person grants liens or security interests in its property or otherwise
acts as accommodation party or guarantor, as the case may be, in each case, pursuant to any Loan Document,
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hereby (a) confirms, ratifies and reaffirms all of its payment and performance obligations, contingent or
otherwise, under the Loan Agreement and each other Loan Document to which it is a party (after giving effect
hereto), (b) confirms and agrees that each Loan Document to which it is a party is, and shall continue to be,
in full force and effect and is hereby ratified and confirmed in all respects, except that on and after the Effective
Date, all references in any such Loan Document to “the Loan Agreement”, the “Agreement”, “thereto”,
“thereof”, “thereunder” or words of like import referring to the Loan Agreement shall mean the Loan
Agreement as amended by this Amendment, and (c) confirms and agrees that, to the extent that any Loan
Document to which it is party purports to assign or pledge to the Administrative Agent, for the benefit of the
Secured Parties, or to grant to the Administrative Agent, for the benefit of the Secured Parties, a security
interest in or Lien on any Collateral as security for the Secured Obligations of the Obligors from time to time
existing in respect of the Loan Agreement (as amended hereby) and the other Loan Documents, or otherwise
guaranteed the Secured Obligations under or with respect to the Loan Documents, such guarantee, pledge,
assignment and/or grant of the security interest or Lien is hereby ratified, reaffirmed and confirmed in all
respects and confirms and agrees that such guarantee, pledge, assignment and/or grant of the security interest
or Lien hereafter guarantees and secures all of the Secured Obligations as amended hereby. This Amendment
does not and shall not affect any of the obligations of the Obligors, other than as expressly provided herein,
including, without limitation, the Obligors’ obligations to repay the Advances in accordance with the terms
of Loan Agreement or the obligations of the Obligors under any Loan Document to which they are a party,
all of which obligations shall remain in full force and effect. Except as expressly provided herein, the
execution, delivery and effectiveness of this Amendment shall not operate as a waiver of any right, power or
remedy of the Administrative Agent or any Lender under any Loan Document, shall not constitute a waiver
of any provision of any Loan Document, and shall not be construed as a substitution or novation of the Secured
Obligations which shall remain in full force and effect.

                 6.       No Representations. Each Obligor hereby acknowledges that it has not relied on
any representation, written or oral, express or implied, by the Administrative Agent or any Lender in entering
into this Amendment.

                 7.       Miscellaneous.

                      (a)     Sections 10.1 (Severability), 10.9 (Consent to Jurisdiction and Venue),
10.10 (Mutual Waiver of Jury Trial) and 10.15 (Counterparts) are deemed incorporated into this
Amendment with all necessary changes.

                         (b)      Section and paragraph headings herein are included for convenience of
reference only and shall not constitute a part of this Amendment for any other purpose. References to
“Sections” are to sections of the Loan Agreement, unless otherwise stated.

                  (c)   EXCEPT TO THE EXTENT GOVERNED BY THE BANKRUPTCY
CODE, THIS AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAW OF THE STATE OF NEW YORK APPLICABLE TO CONTRACTS MADE AND TO
BE PERFORMED IN THE STATE OF NEW YORK WITHOUT GIVING EFFECT TO THE CONFLICT
OF LAWS PROVISIONS THEREOF (OTHER THAN SECTION 5-1401 AND 5-1402 OF THE NEW
YORK GENERAL OBLIGATIONS LAW).

                          (d)      Each Obligor hereby acknowledges and agrees that this Amendment is a
“Loan Document”.

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                          (e)     With respect to any Obligor, this Amendment is subject in all respects
(including with respect to all obligations and agreements of the Obligors provided for hereunder) to the
terms of the Interim Order (and, when applicable, the Final Order) and if any provision in this Amendment
expressly conflicts or is inconsistent with any provision in the Interim Order or Final Order, the provisions
in the applicable DIP Order shall govern and control.

                               [Remainder of page intentionally left blank.]




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                IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be executed
and delivered as of the date set forth on the first page hereof.

                                               COMPANIES:

                                               AMYRIS, INC., a Delaware corporation

                                               By:
                                               Name:
                                               Title:


                                               AMYRIS CLEAN BEAUTY, INC., a Delaware
                                               corporation

                                               By:
                                               Name:
                                               Title:


                                               APRINNOVA, LLC, a Delaware limited liability
                                               company

                                               By:
                                               Name:
                                               Title:


                                               AB TECHNOLOGIES LLC, a Delaware limited
                                               liability company

                                               By:
                                               Name:
                                               Title:


                                               AMYRIS FUELS, LLC, a Delaware limited liability
                                               company

                                               By:
                                               Name:
                                               Title:




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                            AMYRIS-OLIKA, LLC, a Delaware limited liability
                            company

                            By:
                            Name:
                            Title:


                            ONDA BEAUTY INC., a Delaware corporation

                            By:
                            Name:
                            Title:


                            UPLAND 1 LLC, a Delaware limited liability
                            company

                            By:
                            Name:
                            Title:


                            AMYRIS ECO-FAB LLC, a Delaware limited
                            liability company

                            By:
                            Name:
                            Title:


                            CLEAN BEAUTY 4U HOLDINGS, LLC, a
                            Delaware limited liability company

                            By:
                            Name:
                            Title:


                            AMYRIS CLEAN BEAUTY LATAM LTDA., a
                            Brazilian limited liability company

                            By:
                            Name:
                            Title:




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                            INTERFACES INDUSTRIA E COMERICO DE
                            COSMETICOS LTDA., a Brazilian limited liability
                            company

                            By:
                            Name:
                            Title:


                            AMYRIS BIOTECHNOLOGIA DO BRASIL
                            LTDA., a Brazilian limited liability company

                            By:
                            Name:
                            Title:


                            AMYRIS EUROPE TRADING B.V.
                            (NETHERLANDS), a Netherlands limited liability
                            company

                            By:
                            Name:
                            Title:


                            AMYRIS BIO PRODUCTS PORTUGAL,
                            UNIPESSOAL, LDA., a Portugal liability company

                            By:
                            Name:
                            Title:


                            BEAUTY LABS INTERNATIONAL LIMITED, a
                            United Kingdom limited company

                            By:
                            Name:
                            Title:


                            AMYRIS UK TRADING LIMITED, a United
                            Kingdom limited company

                            By:
                            Name:
                            Title:



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                                CLEAN BEAUTY 4U LLC, a
                                Delaware limited liability company


                                By:
                                Name:
                                Title:


                                CLEAN BEAUTY COLLABORATIVE, INC. a
                                Delaware corporation


                                By:
                                Name:
                                Title:



                                ADMINISTRATIVE AGENT:

                                EUAGORE, LLC, a Delaware limited liability
                                company

                                By:
                                Name: Barbara S. Hager
                                Title: Manager


                                LENDER:

                                EUAGORE, LLC, a Delaware limited liability
                                company

                                By:
                                Name: Barbara S. Hager
                                Title: Manager
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                                               Schedule 1
                                                 Part 1

                                               Borrowers
1. Amyris, Inc., a Delaware corporation

2. Amyris Clean Beauty, Inc., a Delaware corporation

3. Aprinnova, LLC, a Delaware limited liability company

                                                 Part 2

                                              Guarantors
1. AB Technologies LLC, a Delaware limited liability company

2. Amyris Fuels, LLC, a Delaware limited liability company

3. Amyris-Olika, LLC, a Delaware limited liability company

4. Onda Beauty Inc., Delaware corporation

5. Upland 1 LLC, a Delaware limited liability company

6. Amyris Eco-Fab LLC, a Delaware limited liability company

7. Clean Beauty 4U Holdings, LLC, a Delaware limited liability company

8. Clean Beauty 4U LLC, a Delaware limited liability company

9. Clean Beauty Collaborative, Inc., a Delaware corporation

10. Amyris Clean Beauty LATAM Ltda., a Brazil limited liability company

11. Interfaces Industria e Comercio de Cosmeticos Ltda., a Brazil limited liability company

12. Amyris Biotecnologia Do Brasil Ltda., a Brazil limited liability company

13. Amyris Europe Trading B.V. (Netherlands), a Netherlands limited company

14. Amyris Bio Products Portugal, Unipessoal, Lda., a Portugal limited company

15. Beauty Labs International Limited, a United Kingdom limited company

16. Amyris UK Trading Limited, a United Kingdom limited company




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